12 F.3d 206
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Linwood WHITE, Plaintiff-Appellant,v.Jon P. GALLEY, Warden;  Paul Davis, Parole Chairman;Maryland Parole Commission, Defendants-Appellees.
    No. 93-6521.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 25, 1993.Decided Nov. 15, 1993.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore, No. CA-92-2996;  Edward S. Northrop, Senior District Judge.
      Linwood White, pro se.
      John Joseph Curran, Jr., Atty. Gen., Glenn William Bell, Office of the Atty. Gen. of Maryland, Baltimore, MD, for defendants-Appellees.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for reconsideration, pursuant to Fed.R.Civ.P. 59(e).  Our review of the record and the district court's opinion discloses no abuse of discretion and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  White v. Galley, No. CA-92-2996 (D.Md. Apr. 8, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    